                   Case 2:25-cv-00127-JCC            Document 72          Filed 01/29/25        Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Western District
                                             __________        of Washington
                                                        District  of __________


                 State of Washington et al                     )
                             Plaintiff                         )
                                v.                             )      Case No.     2:25-cv-00127-JCC
                          Trump et al                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          72 Local Governments and Local Government Officials                                                          .


Date:          01/29/2025                                                                s/ Heidi B. Bradley
                                                                                         Attorney’s signature


                                                                                  Heidi B. Bradley, WSBA 35759
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